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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND


AMERICAN COLLEGE OF
OBSTETRICIANS AND
GYNECOLOGISTS, on behalf of its members
and members’ patients,
COUNCIL OF UNIVERSITY CHAIRS OF
OBSTETRICS AND GYNECOLOGY, on
behalf of its members and members’ patients,
NEW YORK STATE ACADEMY OF
FAMILY PHYSICIANS, on behalf of its
members and members’ patients,
SISTERSONG WOMEN OF COLOR
REPRODUCTIVE JUSTICE COLLECTIVE,
on behalf of its members and members’
patients, and
HONOR MACNAUGHTON, M.D.,

       Plaintiffs,
                                                  Civil Action No. TDC-20-1320
       v.

UNITED STATES FOOD AND DRUG
ADMINISTRATION,
STEPHEN M. HAHN, M.D., in his official
capacity as Commissioner of Food and Drugs,
and his employees, agents and successors in
office,
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES and
ALEX AZAR, J.D., in his official capacity as
Secretary, United States Department of
Health and Human Services, and his
employees, agents and successors in office,

       Defendants.



                            PRELIMINARY INJUNCTION

      For the reasons set forth in the accompanying Memorandum Opinion and Order, it is

hereby ORDERED that:
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1. Defendants United States Food and Drug Administration (“FDA”), FDA

  Commissioner Stephen M. Hahn, the United States Department of Health and Human

  Services (“HHS”), and Secretary of Health and Human Services Alex Azar (“the

  Secretary”); Defendants’ agents, employees, appointees, or successors; and all other

  persons who are in active concert and participation with them, are ENJOINED from

  enforcing, threatening to enforce, or otherwise applying the following provisions of the

  “Elements to Assure Safe Use” (“ETASU”), 21 U.S.C. § 355-1(f)(3) (2018), set forth

  in the mifepristone Risk Evaluation and Mitigation Strategy (“REMS”), ECF No. 1-4,

  as to the dispensing of mifepristone for use as part of a medication abortion regimen,

  against Plaintiffs, their members, other similarly situated individuals or entities, and

  other individuals or entities involved in implementing the injunctive relief, without

  geographic limitation:

     a. ETASU C, 21 U.S.C. § 355-1(f)(3)(C), only to the extent that it requires that
        mifepristone may be dispensed only in clinics, medical offices, or hospitals,
        rather than by mail or delivery service. Dispensing by mail or delivery service
        must still occur by or under the supervision of a certified healthcare provider as
        defined in the REMS.

     b. ETASU D, 21 U.S.C. § 355-1(f)(3)(D), only to the extent that it: (1) requires
        patients obtaining mifepristone to sign the Patient Agreement Form in the
        physical presence of a certified healthcare provider, rather than by signing it
        physically or electronically during a telemedicine session with a certified
        healthcare provider and promptly returning the form electronically or by mail,
        or by giving oral assent to its terms during such a session that the healthcare
        provider then documents in the patient’s record; and (2) requires the certified
        healthcare provider to present the patient with a copy of the form at a clinic,
        medical office, or hospital, rather than promptly providing a copy of the form
        electronically or by mail.

     c. ETASU A, 21 U.S.C. § 355-1(f)(3)(A), only to the extent that it requires
        certified healthcare providers seeking to prescribe mifepristone to attest that
        they will: (1) obtain the patient’s physical signature on the Patient Agreement
        Form, rather than obtaining a physical or electronic signature during a
        telemedicine session with a certified healthcare provider and promptly

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                   receiving a copy of the signed form electronically or by mail, or by obtaining
                   oral assent to its terms during such a session that the healthcare provider then
                   documents in the patient’s record; (2) present the patient with a copy of the form
                   at a clinic, medical office, or hospital, rather than promptly providing a copy of
                   the form electronically or by mail; and (3) place in the patient’s medical record
                   a copy of the form containing the patient’s physical signature, rather than
                   placing a copy of the form signed electronically during a telemedicine session
                   with a certified healthcare provider or documenting the patient’s oral assent to
                   its terms in the patient’s record.

        2. The preliminary injunction shall extend until 30 days after the end of the Public Health

           Emergency declared by the Secretary pursuant to 42 U.S.C. § 247d(a) associated with

           or related to SARS-CoV-2 transmission and the illness known as COVID-19, including

           the periods of any subsequent renewals of the declaration.

        3. If the Public Health Emergency ends during the pendency of this case, Plaintiffs may

           file a motion to extend the preliminary injunction based on specific evidence, to be

           presented with that motion, that demonstrates an ongoing public health justification for

           the continuation of the preliminary injunction.

        4. Pursuant to Federal Rule of Civil Procedure 65(c), Plaintiffs are required to post with

           this Court a bond of $1,000.

        5. The preliminary injunction shall take effect upon the posting of the bond.

Violations of this Order shall subject Defendants and all other persons bound by this Order to all

applicable penalties, including contempt of court.




Date:   July 13, 2020                                 /s/ Theodore D. Chuang
                                                      THEODORE D. CHUANG
                                                      United States District Judge




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